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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


   UNITED STATES OF AMERICA,
   vs.                                             Case No. 23-80101-CR
   DONALD J. TRUMP,                                CANNON/REINHART
   WALTINE NAUTA, and
   CARLOS DE OLIVEIRA,
                  Defendants.


                         NOTICE OF UNAVAILABILITY OF COUNSEL

         Please take notice that Counsel for President Donald J. Trump, Christopher M. Kise, will

  be unavailable from April 29, 2024 through at least May 14, 2024, due to a scheduled surgery on

  April 29, 2024, and the post-surgery recovery period which will restrict his ability to work and

  travel during that time.

   Dated: April 24, 2024                        Respectfully submitted,

                                                /s/ Christopher M. Kise
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                                                Counsel for President Donald J. Trump
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                                 CERTIFICATE OF SERVICE

        I, Christopher M. Kise, certify that on April 24, 2024, I electronically filed the foregoing

  document with the Clerk of Court using CM/ECF.

                                                      /s/ Christopher M. Kise
                                                      Christopher M. Kise
